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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )   CIVIL NO. 05-0677-WS
                                                      )
GEORGE ALLUMS, JR.,                                   )   CRIMINAL NO. 97-0099-WS
                                                      )
        Defendant.                                    )


                                                 ORDER

        This matter is before the Court on petitioner George Allums, Jr.’s pro se Petition Under 28
U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (doc.
2012). Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States
District Courts, the undersigned has conducted an initial review of the Petition. That initial review
reflects that neither the Motion nor the accompanying 129-page Memorandum of Law (doc. 2013) is
signed by petitioner, and that the signature blocks in both documents have been left blank.1 Rule
2(b)(5) of the Rules Governing Section 2255 Proceedings for the United States District Courts
provides that any § 2255 motion “must ... be signed under penalty of perjury by the movant or by a
person authorized to sign it for the movant.” Similarly, Rule 11(a) of the Federal Rules of Civil
Procedure provides that “[e]very pleading, written motion and other paper shall be signed by at least
one attorney of record in the attorney’s individual name, or, if the party is not represented by an
attorney, shall be signed by the party.” The Motion and Memorandum are not in compliance with these
rules, and therefore cannot be accepted in their present form.
        In light of this threshold defect, petitioner is ordered, on or before December 12, 2005, to


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                The Court also notes that approximately 118 pages of said Memorandum of Law
appear to consist of mere boilerplate legal arguments, cut and pasted from other briefs in other habeas
actions, with no analysis or application of how they relate to Allums’ specific circumstances.

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submit an Amended Motion and an Amended Memorandum of Law, both containing his original
signature in the appropriate signature blocks. Failure to submit such amended filings in a timely manner
will result in dismissal of this action without prejudice.


        DONE and ORDERED this 21st day of November, 2005.


                                                             s/ WILLIAM H. STEELE
                                                             UNITED STATES DISTRICT JUDGE




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